                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
 UNITED STATES OF AMERICA, ex rel.                    )
 PAUL TERRION et al.,                                 )
                                                      )
                 Plaintiffs/Relators,                 )
                                                      )
          v.                                          )
                                                              Civil Action No. 19-3581 (FYP)
                                                      )
                                                      )
 POINT BLANK ENTERPRISES, INC., et al.,               )
 2102 SW 2nd Street                                   )
 Pompano Beach, FL 33069                              )
                                                      )
                 Defendants.                          )


JOINT MOTION FOR ENLARGEMENT OF THE TIME FOR RESPONDING TO THE
     COMPLAINT, AND FOR THE FILING OF AN AMENDED COMPLAINT

         Plaintiffs/Relators Paul Terrion et. al (“Plaintiffs/Relators”), and Defendant Point Blank

Enterprises, Inc. (“Point Blank”), by and through undersigned counsel, jointly and respectfully

submit the following motion to set a date by which an amended complaint may be filed in this

action, and then a corresponding date for a response to any such amended complaint by Point

Blank.

         1.     This case is brought under the federal False Claims Act, 31 U.S.C. §§ 3729 et

seq., and various state false claims statutes.

         2.     On February 8, 2022, the United States filed a notice of election to decline

intervention. ECF No. 8.

         3.     On February 9, 2022, the Court ordered that the seal be lifted, and the complaint

be served. ECF No. 9.

         4.     Counsel for Plaintiffs/Relators provided a copy of the complaint and a waiver of

service form to counsel for Point Blank on April 22, 2022 pursuant to Fed. R. Civ. Proc. 4(d),
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which counsel for Point Blank executed and returned. Counsel for Plaintiffs/Relators filed that

waiver with the Court on May 9, 2022. ECF. No. 10. Currently, then, a response to the

complaint would be due from Point Blank on or before June 21, 2022.

       5.      Counsel for Plaintiffs/Relators has not served any other party defendants, and

currently does not intend to do so.

       6.      Counsel for Plaintiffs/Relators is, however, contemplating the potential

amendment of the complaint. Point Blank does not wish to expend resources preparing to

respond to a complaint that may then be amended and therefore not be the operative pleading.

Accordingly, in order to conserve resources, avoid duplicative and unnecessary effort, and move

forward in a logical fashion, the parties desire to set dates by which an amended complaint could

be filed, and then for Point Blank to respond to any such amended complaint.

       7.      The parties propose any amended complaint be filed by counsel for

Plaintiffs/Relators by July 5, 2022.

       8.      The parties propose that Point Blank’s response date then be fifty-eight days after

that, or on or before September 1, 2022.

       9.      For the forgoing reasons, the parties respectfully request that the Court enter an

order providing: (a) that any amended complaint be filed by counsel for Plaintiffs/Relators on or

before July 5, 2022; and (b) that the date by which Point Blank is to respond to the complaint be

extended until September 1, 2022.




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Dated: May 25, 2022
       Washington, DC

                                Respectfully submitted,

/s/ Brad Fagg                   /s/ W. Scott Simmer
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